       Case 1:21-cr-00040-TNM Document 518 Filed 02/03/23 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

v.                                         Crim. Action No. 1:21CR40

DAVID JUDD,

                    Defendant.



DEFENDANT DAVID JUDD’S CORRECTIONS AND OBJECTIONS TO THE
                  PRE-SENTENCE REPORT
      David Judd, through counsel, pursuant to 18 U.S.C. § 3553(a), Rule 32 of the

Federal Rules of Criminal Procedure, and Section 6A1.3 of the advisory United States

Sentencing Guidelines (“USSG”), states that he has reviewed the Pre-Sentence

Report (PSR) and offers the following factual corrections and objections to the PSR’s

guidelines range.

      i.      Factual Corrections

Page 2, Release Status: Mr. Judd was not released at the initial appearance on

April 30, 2021, on personal recognizance. He was released following the detention

hearing on May 12, 2021, and released to High Intensity Supervision and other

conditions.

Paragraph 17: Mr. Judd was not found guilty by a bench trial. He entered into a

stipulated trial agreement with the government whereby he signed a statement of

offense conceding guilt to Counts 22 and 34 while maintaining his right to appeal the

Court’s denial of his Motion to Dismiss Count 34.
        Case 1:21-cr-00040-TNM Document 518 Filed 02/03/23 Page 2 of 4




Paragraph 19: Upon information and belief, the Federal Bureau of Investigations

was not investigating Mr. Judd on a sexual assault offense. Additional information

has been submitted to the Probation Officer.

Paragraph 76: See above correction to Para. 19.

Paragraph 107: Mr. Judd is no longer employed with Southern Glazer’s Wine and

Spirits. He is currently employed by Apex Energy Solutions and his gross monthly

income is approximately $1200.

Paragraph 109: Mr. Judd’s gross monthly income is $1200. Due to his reduced

income, counsel submit that he is not in a position to pay a fine.

       ii.   Objections to the offense level computation

Paragraphs 62 & 63: For the reasons this Court articulated in United v. Hunter

Seefried, which reasoning Mr. Judd adopts and incorporates here, the PSR wrongly

assesses a total 11-level increase under § 2J1.2 because Mr. Judd conduct did not

involve the substantial interference with the “administration of justice.” The opinion

is attached as Exhibit 1.

Paragraph 64: Mr. Judd submits that the official-victim enhancement under USSG

§ 3A1.2 does not apply because Mr. Judd was not motivated by any officer’s status

nor did he act in a manner creating a substantial risk of serious bodily injury. USSG

§ 3A1.2(a) & (c)(requiring that the defendant be motivated by the victim’s status or

that the defendant acted in a manner creating a substantial risk or serious bodily

injury.).



                                               2
       Case 1:21-cr-00040-TNM Document 518 Filed 02/03/23 Page 3 of 4




Paragraph 69: As the government agrees, Mr. Judd should receive an adjustment

for acceptance of responsibility under § 3E1.1 because he accepted full responsibility

for his offense conduct. Indeed, in cases in which defendants reasonably wish to

preserve a legal objection to the application of 18 U.S.C.§ 1512(c) while at the same

time accepting responsibility and sparing the Court the time and resources of a trial,

the government has offered stipulated trial agreements. Pursuant to this agreement,

Mr. Judd (like many other January 6 defendants) signed a complete statement of

offense agreeing to conduct that supported guilt on counts of 22 and 34 of the

Superseding Indictment. In exchange, the government agreed to dismiss the

remaining counts against Mr. Judd and agreed that a three-level reduction for

acceptance of responsibility should apply. Therefore, consistent with the agreement

between the parties and Mr. Judd’s unequivocal acceptance of responsibility, he

should receive a three-level adjustment under § 3E1.1. The government concurs.

                                              Respectfully Submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER


                                              ______/s/____________________
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                                              ______/s/____________________
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                                             3
Case 1:21-cr-00040-TNM Document 518 Filed 02/03/23 Page 4 of 4




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